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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

         Plaintiff,

v.                                               Case No. 21-cr-40/TNM

TRISTAN CHANDLER STEVENS,

       Defendant.
______________________________/

     TRISTAN STEVENS’ MOTION FOR PERMISSION TO TRAVEL

      Tristan Stevens is before the Court pending sentencing after being convicted of

four counts of assaulting, resisting, or impeding certain officers, in violation of 18

U.S.C. § 111(a)(1); one count of civil disorder, in violation of 18 U.S.C. § 231(a)(3); and

four misdemeanors at a bench trial in September 2022. See Minute Entry, 9/13/2022.

He has been fully compliant with the conditions of his release since February 2021.

Initially, Mr. Stevens was released on GPS monitoring, but after he successfully

completed more than 14 months of pretrial supervision, this Court granted his motion

to remove the GPS monitoring requirement in May 2022. See Minute Order,

5/10/2022.

      Mr. Stevens requests permission to travel to Abu Dhabi, United Arab Emirates,

to visit a friend from December 1 to December 31, 2022. He has already provided his

itinerary, the friend’s name, and the address where he will be staying to the Pretrial

Services Office, and he is prepared to provide any additional information as requested.
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       Undersigned counsel has spoken to Mr. Stevens’ local Pretrial Services Officer,

Mr. Price, who did not take a position on the proposed travel but confirmed that Mr.

Stevens has been fully compliant with the conditions of release. Undersigned counsel

then spoke with Mr. Copes from the Pretrial Services Office in the District of

Columbia. Mr. Copes deferred to the Court on approval for travel outside the United

States. Finally, undersigned counsel conferred with Ms. Paschall, counsel for the

government, who represented that the government opposes Mr. Stevens’ request for

international travel.

       Wherefore, for the reasons stated herein and the record in this case, Mr. Stevens

moves the Court to enter an Order granting this Motion and permitting him to travel

to Abu Dhabi, United Arab Emirates, departing on December 1, 2022, and returning

to his home in Alabama on December 31, 2022.

       RESPECTFULLY SUBMITTED this 10th day of November, 2022.


                                         /s/ Lauren Cobb
                                        LAUREN COBB
                                        Florida Bar No. 52022
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                           CERTIFICATE OF SERVICE

      I hereby certify that on November 10, 2022, I will electronically file the foregoing

pleading with the Clerk of the Court using the CM/ECF system, which will then send

a notification of such filing (NEF) to all counsel of record.

                                          /s/ Lauren Cobb
                                         LAUREN COBB
                                         Florida Bar No. 52022
                                         Attorney for Defendant
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